           USDC IN/ND case 1:20-cv-00037-HAB-SLC document 9 filed 01/22/20 page 1 of 4
                                                                                                             (COURT USE ONLY)

                                                                                           RECEIPT NO.



                                               UNITED STATES DISTRICT COURT
                                           FOR THE NORTHERN DISTRICT OF INDIANA


             LIGTEL COMMUNICATIONS, INC.

                            V.                                          Cause No.                 1:20-cv-00037

            BAICELLS TECHNOLOGIES INC. et al




                        MOTION FOR ADMISSION TO PRACTICE PRO HAC VICE ON BEHALF OF

                                                         LIGTEL COMMUNICATIONS, INC.

                                                             Party(s) Represented


Prefix (check one) T Mr.          lx Ms.    F     Mrs.

Last Name:                   Jahnig                   First Name:               Leigh         Middle Name/Initial    Jacqueline


Generation (Sr, Jr, etc):



Firm Name:                                                          JennerSi Block LLP


Street Address:                                353 N Clark Street                         Suite/Room No.:

City:                    Chicago                           State:                   IL           Zip:               60654


Office Teiephone No.:                      (312) 222-9350                      Fax No.:

E-Maii Address:                                                      LJahnig@jenner.com




EDUCATION:
College:               University of Chicago                  Degree:                BA          Year Completed:            2010


Law School:                       Northwestern University Pritzker School of Law                  Year Graduated:           2016

Other Post-Graduate Schooling:

                                                               Page 1 of 3
        USDC IN/ND case 1:20-cv-00037-HAB-SLC document 9 filed 01/22/20 page 2 of 4

LIST EACH STATE TO WHICH YOU ARE ADMITTED TO PRACTICE LAW:
       STATE                   YEAR ADMITTED                     CURRENT STATUS                     BAR l.D. NUMBER

         IL                          2016                              Active                           6324102




Please include a current certificate of good standing (fewer than 60 days old) from each jurisdiction listed above in
order to satisfy the requirements articulated in Local Rule 83-5(a)(2)(C)(ii).

LIST EACH FEDERAL COURT TO WHICH YOU ARE ADMITTED TO PRACTICE LAW:
                         COURT                                  YEAR ADMITTED                 CURRENT STATUS

          US Court of Appeals, Seventh Circuit                         2017                         Active

      US District Court, Northern District of Illinois                 2019                         Active

       US District Court, Central District of Illinois                 2019                         Active




If admitted to the U.S. Supreme Court, please provide a current certificate of good standing (fewer than 60 days
old.) Otherwise, no certificate of good standing is needed for any other Federal Court listed above.



Have you ever been publicly disciplined by any other court in the United States or its territories, commonwealths,
or possessions?    f* Yes (If yes, please attach an explanation)       [x No



 Applicant: I,                        Leigh J. Jahnig                    , do solemnly swear or affirm that:

              I am a member in good standing of the bar of every Jurisdiction to which I am admitted to practice.

              I have read and will abide by the Local Rules of the United States District Court for the Northern
              District of Indiana, including Appendix B: Standards for Professional Conduct Within the Seventh
              Federal Judicial Circuit.

              I declare under penalty of perjury that the statements in this application are true and correct.


               Dated:         January 22, 2020




                                                         Page 2 of 3
         USDC IN/ND case 1:20-cv-00037-HAB-SLC document 9 filed 01/22/20 page 3 of 4




Considered and approved.

SO ORDERED.

Dated:
                                                           Judge, U. S. District Court




                                           Page 3 of 3
                                                                                  Revised 06/05/2013
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 9 filed 01/22/20 page 4 of 4
